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SEP 17 2007

SEF LZ a oY THE UNITED STATES DISTRICT COURT
Cet vermct couRFOR THE NORTHERN DISTRICT OF ILLINOIS
' ’ '’

EASTERN DIVISION

GLADYS ALCAZAR-ANSELMO,

07CV5246
Plaintiff, . JUDGE AN DERSEN
v - MAG. JUDGE ASHMAN
,
CITY OF CHICAGO, a Municipal ) Jury Demanded
Corporation, and NORMA REYES, )
Individually and in her Official Capacity, )
)
Defendants. )
COMPLAINT

NOW COMES Plaintiff GLADYS ALCAZAR-ANSELMO (“Plaintiff”), by and through
her attorneys, Paterno Law Offices, LLC and The Law Offices of Elliot Richardson, and
complaining of the Defendants CIVY OF CHICAGO (“City of Chicago”) and NORMA REYES.
state as follows:

PRELIMINARY STATEMENT

 

1. This is an action seeking redress for the violation of rights guaranteed to Plaintiff
by the Family Medical Leave Act of 1993 (“FMLA”), as amended, 29 U.S.C. §2601 et. seq.
Plaintiff seeks mandatory injunctive relief and damages to redress Defendant's discriminatory
employment practices.

JURISDICTION AND VENUE

 

2, Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1343(a)(3) and (4)
and 28 U.S.C. § 1331 to secure protection of and te redress deprivation of rights secured by 29
U.S.C. § 2601 ef seg. and §1161 ef seg. Plaintiff seeks declaratory relief pursuant to 28 U.S.C.

§2201 and 2202.
Case: 1:07-cv-05246 Document #: 1 Filed: 09/17/07 Page 2 of 4 PagelD #:2

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Venue is proper under 28 U.S.C. § 1391.

PARTIES
4, Plaintiff is a United States citizen, who resides in I]linois.
5, Defendant City of Chicago is a municipal corporation properly organized and

sanctioned by the State of Illinois and is an employer for purposes of 29 U.S.C. § 2601 ef. seq.
6. Defendant Norma Reyes, who resides in Illinois, is employed by the City of
Chicago and was Plaintiff's supervisor during all relevant times.

COUNT L VIGLATION OF FMLA — DENIAL OF REQUEST
(Against All Defendants)

7. Plaintiff restates and realleges by reference paragraphs | through 6 as fully set
forth herein.

8. Plaintiff was employed by Defendant City of Chicago from about October 1997
through May 2007.

9, During all relevant times, Plaintiff's supervisor was Defendant Norma Reyes.

10. Defendants are an employer under the FMLA.

11. Plaintiff was considered an eligible employee and was granted leave under the
FMLA as a result of her initial request.

12. In or around March 2007, Plaintiff requested additional leave under the FMLA to
undergo further treatment related to her initial request.

(3. Defendants engaged in prohibited acts under the FMLA when they denied
Plaintiff's additional request for leave under the FMLA.
WHEREFORE, Plaintiff respectfully requests that this Court:

A. Grant the sum of $500,000 as compensatory damages;
B. Grant the sum of $1 million as punitive or exemplary damages:
Case: 1:07-cv-05246 Document #: 1 Filed: 09/17/07 Page 3 of 4 PagelD #:3

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H.

Grant declaratory judgment adjudicating Defendants’ conduct described in the
Cornplaint constitutes a violation of the Family Medical Leave Act;

. Issue a permanent injunction;

Reinstate Plaintiff to her position with an award of back pay with interest and all
other lost employment benefits, or in the alternative, in the event this Court finds that
reinstatement is not feasible, Plaintiff prays for an award of front pay,

An Order that Defendants pay Plaintiffs costs and attorneys’ fees;

Retain jurisdiction of this action to ensure full compliance with the law; and

All relief this Court deems just and proper.

COUNT II - VIOLATION OF FMLA —- RETALIATORY DISCHARGE
(Against All Defendants)

Plaintiff restates and realleges by reference paragraphs | through 13 as fully set

forth herein.

15,

Defendants terminated Plaintiffs employment in retaliation for exercising her

rights under the FMLA,

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B.

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D.
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G.

H.

Grant the sum of $500,000 as compensatory damages;

Grant the sum of $1 million as punitive or exemplary damages;

Grant declaratory judgment adjudicating Defendants’ conduct described in the
Complaint constitutes a violation of the Family Medical Leave Act;

Issue a permanent injunction;

Reinstate Plaintiff to her position with an award of back pay with interest and all
other lost employment benefits, or in the alternative, in the event this Court finds that
reinstatement is not feasible, Plaintiff prays for an award of front pay:

An Order that Defendants pay Plaintiff's costs and attorneys’ fees:

Retain jurisdiction of this action to ensure full compliance with the law; and

All relief this Court deems Just and proper,

COUNT UI - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

16.

(Against All Defendants)

Plaintiff restates and realleges by reference paragraphs 1 through [5 as fully set

forth herein.

17. The intentional acts of Defendants constitute extreme and outrageous conduct,

beyond the bounds of decency, which inflicted severe emotional distress and mental anguish on

Plaintiff.
Case: 1:07-cv-05246 Document #: 1 Filed: 09/17/07 Page 4 of 4 PagelD #:4

18. As a proximate result of Defendants’ unlawful act, Plaintiff has suffered severe
mental anxiety and emotional and physical distress.

19, Defendants acted willfully and maliciously with respect to their treatment of
Plaintiff.
WHEREFORE, Plaintiff seeks the following relief as to Count HI of the Complaint:

A, Order Defendants to pay Plaintiff all economic losses she sustained and will in the

future sustain by reason of the intentional infliction of emotional distress,
including prejudgment interest on such amounts;

B. Order Defendants to pay Plaintiff compensatory damages in excess of
$500,000.00 for the severe emotional distress which she has suffered:

C. Order Defendants to pay Plaintiff punitive damages in an amount to be
determined at trial; and

dD. Order any further relicf this Court deems just and proper,

JURY TRIAL DEMANDED
Plaintiff requests a jury trial on all issues of fact raised by the allegations in this complaint.

Respectfully submitted,

Nt Oby/v

One of Plaintiff's Attorneys

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Dated: September 17, 2007
